810 F.2d 194
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re Joseph Marion HEAD, Jr., Petitioner-Appellant.
    No. 86-7272.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 28, 1986.Decided Jan. 15, 1987.
    
      Before RUSSELL, WIDENER and SPROUSE, Circuit Judges.
      Joseph Marion Head, Jr., appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 28 U.S.C. § 2254 and 42 U.S.C. § 1983 is without merit.   To the extent that the petition raises claims under § 2254 we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   We affirm the denial of relief under § 1983 on the reasoning of the district court and dispense with oral argument as it would not significantly aid the decisional process.   In re:  Joseph Marion Head, Jr., C/A No. 86-0228 (W.D.N.C., Aug. 22, 1986).
    
    
      2
      DISMISSED IN PART, AFFIRMED IN PART.
    
    